9/2/22, 11:48 AM     Case 1:21-cr-00537-JMC Document 195-4PR15
                                                            Filed 09/16/22 Page 1 of 1
      PHLIF                   *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *                09-02-2022
  PAGE 001 OF 001                                                                           11:47:55
           FUNCTION: L-P SCOPE: REG                     EQ 28332-509     OUTPUT FORMAT:   FULL
  -------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
  DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
  DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM                        ___ TO ___ DAYS AFTER DT RDU
  DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM                        ___ TO ___ DAYS AFTER DT TRT
  STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
  SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
  EXTENDED: _ REMEDY LEVEL: _ _                                    RECEIPT: _ _ _ "OR" EXTENSION:       _ _
  RCV      OFC : EQ ____                         ____       ____        ____       ____          ____
  TRACK:           DEPT: __________ __________ __________ __________ __________ __________
             PERSON: ___                         ___        ___         ___        ___           ___
                   TYPE: ___                     ___        ___         ___        ___           ___
  EVNT FACL: EQ ____                             ____       ____        ____       ____          ____
  RCV FACL.: EQ ____                             ____       ____        ____       ____          ____
  RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
  RCV QTR..: EQ __________ __________ __________ __________ __________ __________
  ORIG FACL: EQ ____                             ____       ____        ____       ____          ____
  ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
  ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




  G5152                NO REMEDY DATA EXISTS FOR THIS INMATE




https://bop.tcp.doj.gov:9049/SENTRY/J1PRGR0.do                                                            1/1
